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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                                   )
                                                   )
PHILIP HANSTEN,                                    )
Plaintiff,                                         )
v.                                                 )
                                                     Case No. 1:21-cv-2043
                                                   )
DRUG ENFORCEMENT                                   )
ADMINISTRATION,                                    )
Defendant.                                         )
                                                   )
                                                   )
                                                   )

     PLAINTIFF PROFESSOR HANSTEN’S MEMORANDUM OF POINTS AND
     AUTHORITIES IN OPPOSITION TO DEFENDANT DRUG ENFORCEMENT
          ADMINSTRATION’S MOTION FOR SUMMARY JUDGMENT


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Dated: November 29, 2021
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          Defendant Drug Enforcement Administration’s (“DEA”) Motion for Summary Judgment

(“DEA MSJ”) should be denied.

I.        PRELIMINARY STATEMENT

          DEA’s withholding of the information Professor Philip Hansten (“Professor Hansten”)

requests (the “Request”) is based exclusively on Exemption 7(E) to the Freedom of Information

Act (“FOIA”), 5 U.S.C. §§ 552 et seq. Exemption 7(E), however, does not apply to the requested

information and DEA cannot demonstrate that the exemption applies. In fact, DEA completely

fails to show that it meets the threshold requirements of Exemption 7 or the specific requirements

of Exemption 7(E). Instead, it claims, wrongly, that it is enough to declare merely “because DEA

is a law enforcement agency, DEA satisfies the threshold standard for invoking Exemption 7.”

DEA MSJ at 9. Thus, DEA’s argument appears to be that simply because it has a law enforcement

mission, among others,1 all information contained in its files should be subject to Exemption 7.

          Relying on that incorrect understanding of the law, DEA fails to demonstrate that the

information Professor Hansten seeks involves “records or information compiled for law

enforcement purposes,” 5 U.S.C. § 552(b)(7), or that releasing that information would “disclose

techniques and procedures for law enforcement investigations or prosecutions” or “guidelines for

law enforcement investigations or prosecutions . . . ,” as is required to come under Exemption




1
     For example, DEA lists among its missions, in addition to law enforcement activities:

         Coordination and cooperation with federal, state, and local agencies, and with foreign governments, in
          programs designed to reduce the availability of illicit abuse-type drugs on the United States market through
          nonenforcement methods such as crop eradication, crop substitution, and training of foreign officials.

www//dea.gov/about/mission (accessed 11/20/2021 3:39 pm).
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7(E), 5 U.S.C. § 552(b)(7)(E). Beyond that, DEA fails to demonstrate that such disclosure would

pose a risk of “circumvention of the law,” id.

       This Court has consistently rejected similar efforts by other federal agencies with a mission

that includes law enforcement to withhold all information held by that federal agency under

Exemption 7 absent a specific justification. The Court in this District reprimanded the Federal

Bureau of Investigation (“FBI”) for similar behavior in Brick v. DOJ, 293 F. Supp. 3d 9 (D.D.C.

2017). In Brick, “[t]he FBI’s support for its claim that the records at issue were compiled for law

enforcement purposes . . . consist[ed] almost entirely of the conclusory contention that ‘the

information collected was integrated into national security/criminal investigation of third party

individuals.’” Id. at 11. Despite the fact that the FBI in Brick actually provided more data to the

Court and the plaintiff than did the DEA here, the Court was clear: “Reliance on this unadorned

statement to establish a law enforcement purpose for these records flouts more than 35 years of

precedent that establishes that such bare contentions are simply not enough.” Id. The Court went

on to state that this was “not the first time that this Court ha[d] brought the persistent vagueness

of the FBI’s declarations in FOIA cases to the agency’s attention.” 293 F. Supp. 3d at 12

(collecting cases).

       Similarly, here, the Court should reject DEA’s argument that Exemption 7 applies just

because DEA has a law enforcement mission. Because DEA has not met its burden under

Exemption 7 and Exemption 7(E), its Motion for Summary Judgment should be denied.

       Rather than grapple with standards under Exemption 7(E), DEA improperly focuses its

argument upon the identity of the requester, presupposing on the basis of his identity the purpose

of the Request and the consequences that would result from complying with the Freedom of

Information Act. DEA’s attack on Professor Hansten’s identity motivations runs counter to settled




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precedent and is inappropriate and irrelevant to the question of whether Exemption 7(E) applies to

the requested information. In doing so, however, DEA makes clear that Exemption 7(E) does not

apply to the information DEA identifies as responsive to Professor Hansten’s request, which DEA

describes as relating to drugs used in executions, because such information pertains to

“punishment” and not “investigations” or “prosecution.”         There is no justification under

Exemption 7(E) for withholding that information, or the other information Professor Hansten has

requested.

II.    BACKGROUND

       The relevant background facts here are largely undisputed. Professor Hansten submitted a

FOIA request to DEA seeking records sufficient to show the names, addresses, and business

activities of all parties to which DEA issued DEA Forms 222 in which the “Date Issued” on the

form is May 11, 2011. See Ex. 1 to Prof. Hansten’s MSJ, Hansten Decl. ¶ 9 & Ex. A; see also Ex.

2 to DEA MSJ, Hertel Decl. ¶ 6. Notably, this request did not seek copies of DEA Forms 222

themselves or information about specific drug transactions—it simply requested a list of legally

authorized DEA registrants who were issued such Forms. When DEA finally responded to the

Request, DEA refused to produce or, purportedly, even search for responsive documents because

DEA claimed: “any responsive documents were categorically exempt from disclosure.” Hansten

Decl. ¶¶ 14-15; Hertel Decl. ¶ 9.

       It is undisputed that only persons registered legally with the DEA may obtain or use DEA

Forms 222 to order and transfer Schedule I and II controlled substances. 21 C.F.R. § 1305.03; 21

C.F.R. § 1305.04(a); see also DEA MSJ at 2-3. Thus, the Request seeks information about only

legal registrants, not ones subject to law enforcement for drug diversion. DEA has released

information about the identities of those issued DEA Forms 222 in the past. See Exhibit 3 to

Professor Hansten’s MSJ.


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       Professor Hansten disputes DEA’s conclusory statements that disclosure of the requested

information would compromise DEA’s law enforcement investigations, prosecutions, or

guidelines. As set forth herein and in Professor Hansten’s Motion for Summary Judgment,

Exemption 7(E) does not allow DEA to withhold the requested information. Since Professor

Hansten’s request seeks information about legally authorized DEA registrants only, DEA’s

argument that disclosing basic information about the identities of those registrants might somehow,

some day impair law enforcement investigations or prosecutions is simply too vague to be

sufficient to invoke Exemption 7(E).

       Although DEA has provided neither a Vaughn Index describing the withheld information

nor a detailed declaration setting out why it believes Exemption 7(E) applies to the requested

information, it claims that at least some of the responsive records relate to controlled substances

used in lethal injection executions. Assuming this is true, case law from this District makes it clear

that Exemption 7(E) does not encompass the punishment phase of the criminal process, and thus

does not apply to records related to the procurement of drugs for lethal injection. Therefore, DEA

must produce those records.

III.   ARGUMENT

       A.      Defendant’s Focus on the Identify of the Requester and the Alleged Purpose
               of the Request is Inappropriate, Irrelevant, and Runs Counter to Settled
               Precedent

       DEA’s focus on Professor Hansten’s identity and the supposed purpose of the Request is

inappropriate and misplaced. It is well established that the identity of the person making a FOIA

document request is irrelevant. The Supreme Court has observed that a FOIA requester’s identity

generally “has no bearing on the merits of his or her FOIA request.” DOJ v. Reporters Comm. for

Freedom of the Press, 489 U.S. 749, 771 (1989). “Because Congress clearly intended the FOIA

to give any member of the public as much right to disclosure as one with a special interest in a


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particular document, except in certain cases involving claims of privilege, the identity of the

requesting party has no bearing on the merits of his or her FOIA request.” Dep’t of Defense v.

Fed. Labor Relations Auth., 510 U.S. 487, 496 (1994) (internal citations and quotation marks

omitted). See also NARA v. Favish, 541 U.S. 157, 170 (2004) (“As a general rule, withholding

information under FOIA cannot be predicated on the identity of the requester.”); Lynch v. Dep’t of

the Treasury, 210 F.3d 384, at *4 (9th Cir. 2000) (unpublished table opinion) (upholding district

court's decision to not consider identity of requester in determining whether records were properly

withheld under Exemption 7(A)); Parsons v. Freedom of Info. Act Officer, No. 96-4128, 1997 WL

461320, at *1 (6th Cir. Aug. 12, 1997) (“[T]he identity of the requestor is irrelevant to the

determination of whether an exemption applies.”); United Techs. Corp. v. FAA, 102 F.3d 688, 692

(2d Cir. 1996) (rejecting plaintiff's argument that Exemption 4 should be applied “on a requester-

specific basis,” because “[u]nder that rule, the Government would be required in every FOIA case

to conduct an inquiry regarding the identity of the requester and the circumstances surrounding its

request,” and “[t]he FOIA was not intended to be applied on such an individualized basis"); Swan

v. SEC, 96 F.3d 498, 499 (D.C. Cir. 1996) (“Whether [a particular exemption] protects against

disclosure to 'any person' is a judgment to be made without regard to the particular requester's

identity.”); Durns v. BOP, 804 F.2d 701, 706 (D.C. Cir. 1986) (“Congress granted the scholar and

the scoundrel equal rights of access to agency records.”), cert. granted, judgment vacated on other

grounds & remanded, 486 U.S. 1029 (1988).

       In fact, a Court in this District has gone on to explain that “the applicability of Exemption

7(E) bears no relationship to the identity of the FOIA requester.” Mezerhane de Schnapp v. United

States Citizenship & Immigr. Servs., 67 F. Supp. 3d 95, 102 (D.D.C. 2014). Similarly, the

requester’s “need or intended use for the documents is irrelevant to his FOIA action.” North v.




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Walsh, 881 F.2d 1088, 1096 (D.C. Cir. 1989). Professor Hansten’s personal views and opinions

and the supposed purpose of the Request have no bearing on whether DEA is entitled to withhold

the requested information from the public.

       B.      DEA Has Not and Cannot Demonstrate that Responsive Documents Are
               Subject to Exemption 7(E)

               1.      DEA Has Failed to Describe the Withheld Documents

        “To enable the Court to determine whether documents properly were withheld, the agency

must provide a detailed description of the information withheld through the submission of a so-

called ‘Vaughn Index,’ sufficiently detailed affidavits or declarations, or both.” Defenders of

Wildlife v. U.S. Border Control, 623 F. Supp. 2d 83, 88 (D.D.C. 2009). The agency must “‘disclose

as much information as possible’ in its Vaughn Index.” Id. (quoting Hall v. DOJ, 552 F. Supp. 2d

23, 27 (D.D.C. 2008)). DEA cannot withhold all of the information responsive to Professor

Hansten’s request without at least making known to the Court and Professor Hansten what

information it seeks to exclude from production.

       DEA claimed, in its denial of Professor Hansten’s FOIA request, that it “is not required to

conduct a search for the requested records.” Ex. 1 to Prof. Hansten’s MSJ , Ex. E. Although DEA

has not provided the Court with a Vaughn Index describing the documents or data responsive to

Professor Hansten’s FOIA request, it is clear that DEA conducted such a search. Otherwise, DEA

could not have described a portion of the responsive data, which it claims pertains to the identity

of a supplier of drugs used in lethal injections.

       By failing to describe the responsive documents or data in a Vauhgn Index, DEA prevents

the Court and Professor Hansten from any opportunity to test the appropriateness of its denial. The

Declaration filed with DEA’s Motion for Summary Judgment provides no more detail about those

documents and data than does DEA’s brief, which is insufficient. See Defenders of Wildlife, 623



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F. Supp. 2d at 88 (“The Vaughn Index and/or accompanying affidavits or declarations must

‘provide[ ] a relatively detailed justification, specifically identif[y] the reasons why a particular

exemption is relevant and correlat[e] those claims with the particular part of a withheld document

to which they apply.’” (quoting Judicial Watch, Inc. v. FDA, 449 F.3d 141, 146 (D.C. Cir. 2006)

(alterations in original))).

                 2.       DEA Incorrectly Claims that Exemption 7(E) “Categorically” Exempts
                          Responsive Documents from Disclosure.

        In its denial of Professor Hansten’s FOIA request, DEA claimed that any such documents

are “categorically exempt” from disclosure. See DEA MSJ at 2. DEA rests this claim on Smith v.

BATF, 977 F. Supp. 496, 501 (D.D.C. 1997). DEA MSJ at 9-10. Smith, however, does not support

DEA’s conclusion.

        First, as DEA acknowledges (DEA MSJ at 10), Smith does not state that just because DEA

has a law enforcement mission, every record it possesses is “categorically” exempt from disclosure

under Exemption 7. Instead, the Smith court made clear that only “information related to law

enforcement techniques” of the agency is subject to “categorical” protection. 977 F. Supp. at 501

(emphasis added).2 Here, DEA has failed to identify any “law enforcement techniques” of the

DEA that would be disclosed by the information Professor Hansten requests that would create a

basis for relying on Exemption 7(E).             Instead, DEA asserts, without any evidence and by

inappropriately relying on the requestor’s identity, that the release of the requested information

would lead to the disclosure of the identity of sources of controlled substances that could have the



2
         “Exemption 7(E) covers ‘techniques and procedures for law enforcement investigations or prosecutions’ as
well as ‘guidelines for law enforcement investigations or prosecutions.’” Pub. Empls. for Envtl. Responsibility v.
U.S. Section, Int’l Boundary & Water Comm’n, 740 F.3d 195, 204 n.4 (D.C. Cir. 2014) (quoting 5 U.S.C.
§ 552(b)(7)(E)). Because DEA rested its denial of Professor Hansten’s request on this supposed categorical
exemption, it relies entirely on the “techniques and procedures” prong of Exemption 7(E). In any event, DEA
makes no claim that the requested information qualifies as a “guideline.”



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“potential for diversion and harm to physical safety,” and “would impair the government’s ability

to obtain lethal injection substances.” DEA MSJ at 10. Such potential consequences are unrelated

to “law enforcement techniques.” See Whittaker v. DOJ, Case No. 18-cv-01434, 2019 WL

2569915, at *1-2 (D.D.C. June 21, 2019) (“The phrase ‘techniques and procedures’. . . refers to

how law enforcement officials go about investigating a crime.” (emphasis in original) (citation

omitted). The government’s ability to obtain drugs for executions is not only unconnected to “law

enforcement techniques” but is more broadly not in any way related to DEA’s role and mission.

See DEA Mission Statement, https://www.dea.gov/about/mission (accessed 11/23/2021, 11:43

am).

          Second, unlike in Smith, DEA has not “provid[ed] the Court with” any information for the

Court to “decide whether the material is properly withheld under Exemption 7(E).” 977 F. Supp.

at 501.

          Even in Smith, the Court held that the agency’s “descriptions of its deletions pursuant to

Exemption 7(E) are too conclusory for this Court to determine whether the exemption was properly

invoked,” 977 F. Supp. at 501. It continued, “Defendant must provide greater detail as to why the

release of the information deleted from the two documents at issue would compromise law

enforcement by revealing information about investigatory techniques that are not widely known

to the general public.” Id. Again, DEA provides no such “detail as to why the release of the

[requested] information . . . would compromise law enforcement by revealing information about

investigatory techniques that are not widely known to the general public,” as required by Smith.

Id. (emphasis added). Accordingly, DEA’s claim of “categorical” exemption just because an

agency with a law enforcement mission holds that information must fail.




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               3.      DEA Fails to Meet Both the Exemption 7 Threshold Burden and the
                       Specific Requirements of Exemption 7(E)

               a.      DEA has not shown that it meets the Exemption 7 threshold.

       To determine whether an agency has met the Exemption 7 threshold, the court must find

that the requested documents are “records or information compiled for law enforcement

purposes.” See Jefferson v. DOJ, 284 F.3d 172, 176-77 (D.C. Cir. 2002). “[T]he focus is on how

and under what circumstances the requested files were compiled.” Id. “[T]he District Court must

determine whether the prospect of enforcement proceedings is concrete enough to bring into

operation the exemption for investigatory files.” Bristol-Myers Co. v. FTC, 424 F.2d 935, 939

(D.C. Cir. 1970).

       DEA failed to demonstrate it meets the “two-part test” set out by the D.C. Circuit “whereby

the government can show that its records are law enforcement records: the investigatory activity

that gave rise to the documents is related to the enforcement of federal laws, and there is a rational

nexus between the investigation at issue and the agency’s law enforcement duties[.]” Benavides

v. BOP, 774 F. Supp. 2d 141, 146 (D.D.C. 2011) (quoting Jefferson, 284 F.3d at 177).

       To meet this burden, DEA must “identify a particular individual or a particular incident as

the object of its investigation and the connection between that individual or incident and a possible

security risk or violation of federal law.” Summers v. DOJ, 934 F. Supp. 458, 462 (D.D.C. 1996)

(quoting Pratt v. Webster, 673 F.2d 408, 420 (D.C. Cir. 1982)). This is true even if an agency

“specializes in law enforcement” because “[t]he court’s ‘deferential’ standard of review is not . . .

‘vacuous.’” Campbell v. DOJ, 164 F.3d 20, 33 (D.C. Cir. 1998) (quoting Pratt, 673 F.2d at 421)

(holding that “to justify summary judgment under exemption 7, the FBI must explain why each

withheld document or set of closely similar documents relate to a particular law enforcement

purpose.”).



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       As set forth herein and in Professor Hansten’s Motion for Summary Judgment, DEA does

not meet the burden set by this test. Nowhere does DEA “identify a particular individual or a

particular incident as the object of its investigation.” Summers, 934 F. Supp. at 462 (quoting Pratt,

673 F. 2d at 420). Without such an identification, DEA’s claim that it meets the Exemption 7

threshold necessarily fails. See Campbell, 164 F.3d at 32-33. Instead of properly identifying a

specific person or incident that is the subject of investigation that would be impacted by disclosing

the requested information, DEA asserts, without citation, that merely “because DEA is a law

enforcement agency, DEA satisfies the threshold standard for invoking Exemption 7.” DEA MSJ

at 9. The D.C. Circuit has made clear that the “contention that [law enforcement agency] records

per se meet the threshold criterion of Exemption 7 . . . has been rejected by this Circuit.” Brick,

293 F. Supp. 3d at 11 (quoting Pratt, 673 F.2d at 414). Accordingly, DEA’s argument that it has

met the Exemption 7 threshold fails.

       DEA also claims that it meets the Exemption 7 threshold because “[w]hen controlled

substance transactions fall outside the closed system of distribution, the activity constitutes

diversion, which is a violation of the Controlled Substances Act.” DEA MSJ at 9. DEA does not

claim, however, that the information Professor Hansten requested relates to any such alleged

diversion or law violation. Such vague and generalized speculation is not sufficient to justify the

application of Exemption 7(E). See Campbell, 164 F.3d at 32-33. Similarly, the fact that law

enforcement employees maintain the requested records (DEA MSJ at 3) is not controlling about

whether Exemption 7(E) should apply. Courts have found that a law enforcement agency must

produce responsive records despite the agency’s claim that it maintains the records in the course

of its general law enforcement mission. See, e.g., Campbell, 164 F.3d at 32-33 (FBI did not meet




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Exemption 7 threshold); Brick, 293 F. Supp. 3d at 11-12 (same); Shapiro v. DOJ, 37 F. Supp. 3d

7, 28-30 (D.D.C. 2014) (same).

       Finally, Forms 222 are used to monitor the legal transfers of Schedule I & II drugs. See

DEA MSJ at 2-3. Professor Hansten is merely requesting general information about registrants to

whom DEA issued Forms 222 on a certain date, not copies of the Forms 222 themselves. DEA

has released information about the identities of those issued DEA Forms 222 in the past.

Accordingly, it is apparent that DEA maintains a list of registrants simply to monitor to which

registrants DEA provides Forms 222 on a particular date. Where the agency is “merely engaging

in a general monitoring of private individuals’ activities,” it does not meet the Exemption 7

threshold. Jefferson, 284 F.3d at 177 (quoting Pratt, 673 F.2d at 420).

               b.     DEA has not met the specific requirements of Exemption 7(E).

       “Exemption 7(E) is properly invoked only for techniques not generally known to the

public.” Nat’l Sec. Archive v. FBI, 759 F. Supp. 872, 885 (D.D.C. 1         991). The Exemption

will not apply where there is “nothing exceptional or secret about the techniques.” Albuquerque

Pub. Co. v. DOJ, 726 F. Supp. 851, 857 (D.D.C. 1989). For example, in Albuquerque Publishing,

the court held that Exemption 7(E) did not apply to “information pertaining to techniques that are

commonly described or depicted in movies, popular novels, stories or magazines, or on

television . . . includ[ing], it would seem to us, techniques such as eavesdropping, wiretapping,

and surreptitious tape recording and photographing.” 726 F. Supp. at 858. Additionally, “the

agency must at least provide some explanation of what procedures are involved and how they

would be disclosed.” Citizens for Resp. & Ethics in Washington v. DOJ, 746 F.3d 1082, 1102

(D.C. Cir. 2014).

       Here, DEA has neither identified any non-public law enforcement techniques nor provided

any explanation of the procedures that it is purportedly protecting. As a result, DEA fails to meet


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the requirements of Exemption 7(E). See, e.g., id. (“Th[e] near-verbatim recitation of the statutory

standard is inadequate.”); Nat’l Sec. Archive v. FBI, 759 F. Supp. at 885 (where “th[e] contentions

are too conclusory,” Exemption 7(E) requirements not met)); Albuquerque Pub. Co. v. DOJ, 726

F. Supp. at 857 (Exemption 7(E) requirements not met where “the agency provides the Court with

insufficient information about the nature of the techniques”).

       DEA argues that “[t]he effectiveness of DEA’s mission is dependent to a large extent on

the use of sensitive collection techniques and methods that are not known to the general public.”

DEA MSJ at 4. That may be true in some instances but the information requested here does not

relate to DEA techniques unknown to the public. The requirement to request and file Forms 222

is not a “sensitive” technique not know to the general public; it appears in the Code of Federal

Regulations. See 21 C.F.R. § 1305 et seq. The request simply seeks a list of DEA registrants

issued Forms 222 on a particular date. It is no secret that DEA maintains lists of DEA registrants

and issues DEA Forms 222. DEA makes it clear to the public on its website that it provides these

services.       https://apps.deadiversion.usdoj.gov/webforms2/spring/validationLogin      (accessed

11/22/2021 11:17 am). The request simply seeks records related to this registration. DEA has not

identified any otherwise unknown techniques that would be disclosed if such a list was provided.

       DEA also asserts that the disclosure of the information Professor Hansten requested “would

provide information to individuals seeking to circumvent the law,” claiming that the basic

information sought could somehow be an element of a “mosaic analysis” that “may interfere with

the lawful distribution and use of controlled substances.” DEA MSJ at 4. Professor Hansten

requested merely a list of DEA registrants who received DEA Forms 222 on a given day. The

possibility that such very general information about legally registered DEA registrants could fit

somehow into a “mosaic analysis” strains credulity. Presumably, any information held by DEA,




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or any law enforcement agency, could be combined with other information to develop a “mosaic”

of potentially harmful information. But this would be true of all information held by any federal

agency whose activities touch on law enforcement directly or indirectly. Thus, DEA’s argument

reveals itself to be nothing less than an effort to exclude all information held by DEA, and

potentially all other law enforcement agencies, from disclosure under FOIA. This cannot be the

result when FOIA exemptions must be applied “narrowly.” Memphis Pub. Co. v. FBI, 879 F.

Supp. 2d 1, 6 (D.D.C. 2012) (quoting Wolf v. CIA, 473 F.3d 370, 374 (D.C. Cir. 2007)).

       DEA also claims that disclosure of the information covered by Professor Hansten’s FOIA

request would “interfere with or target . . . persons and businesses ordering and supplying

controlled substances for lawful purposes.” Id. DEA provides no basis for that assertion or

evidence that it is a realistic concern. The fact that many known entities such as hospitals, clinics,

and pharmacies are authorized to handle controlled substances for lawful purposes is no secret. In

fact, DEA maintains a website permitting entities to look up and validate other registrants’

authorization         to         handle          controlled         substances.                   See

https://apps.deadiversion.usdoj.gov/webforms2/spring/validationLogin         (accessed    11/22/2021

11:17 am). And, even assuming DEA’s claims were true, this argument is not relevant to the

criteria needed to establish that a FOIA request falls under Exemption 7(E). That exemption

protects information relating to investigations or prosecutions; what DEA describes is the reported

collection of data unrelated to investigations or prosecutions.        As DEA fails to meet the

requirements under Exemption 7(E), the agency must produce all information responsive to

Professor Hansten’s request.




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         C.       Even If Responsive Records Relate to Lethal Injection Drugs, Exemption 7(E)
                  Does Not Apply

         DEA spends a large portion of its brief claiming that responsive records would provide

data about “a provider of controlled substances used in lethal injections.” DEA MSJ at 5.

Although, as discussed above, the requester’s identity and intended use for the documents are

“irrelevant to his FOIA action,” North, 881 F.2d at 1096, DEA’s revelation about some of the

requested information makes it even more clear that Exemption 7(E) does not apply to the

requested information.

         Lethal injection drugs are not in any way related to “law enforcement investigations or

prosecutions.” 5 U.S.C. § 552(b)(7)(E). Rather, as a Court in this District has recently held, the

supply of lethal injection drugs concerns a later phase of the law enforcement process—

punishment. See Citizens for Resp. & Ethics in Washington v. DOJ, 2021 WL 4502039, at *8

(D.D.C. Sept. 30, 2021) (“[The] procurement of Pentobarbital [a lethal injection drug] to effect a

punishment is a distinct phase in the broader scheme of law enforcement. And ‘techniques and

procedures’ for punishment are not mentioned in the statute.”). For this reason, the Court held that

the government’s withholdings under Exemption 7(E), responsive to a FOIA request for “all

records . . . related to the procurement of [certain drugs] . . . to be used in federal executions,”

were “improper” and consequently ordered disclosure of all records withheld under Exemption

7(E). Id. at *1, 8.

         Lastly, DEA’s assertions that the release of the requested information would make it more

difficult for the government to obtain lethal injection drugs and could cause the suppliers of such

drugs to be subject to harassment have no bearing on the applicability of Exemption 7(E).3


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          Although irrelevant to the application here of Exemption 7(E), DEA’s claims that suppliers of lethal
injection drugs face harassment have been contested. See, e.g., FBI Records,
https://s3.documentcloud.org/documents/2991824/FBI-FOIA-Apothecary-Shoppe.pdf; BuzzFeed News, FBI


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Exemption 7(E) applies where “the requested information [would] ‘disclose techniques and

procedures for law enforcement investigations or prosecutions.’” Whittaker, 2019 WL 2569915,

at *1 (quoting 5 U.S.C. § 552(b)(7)(E)). DEA claims Exemption 7(E) protection based on

outcomes it predicts might happen if it released information that purportedly relate in some way

to lethal injection drugs. Such predications have nothing to do with “how law enforcement

officials go about investigating a crime.” Id. at *2; see p. XX, supra.

        D.      DEA’s Overly Broad Interpretation of Exemption 7(E) Would Mean that Any
                Document Held By a Law Enforcement Agency Would Be Entirely Exempt
                from Disclosure

        DEA proposes a breadth of Exemption 7(E) that is simply untenable—it would swallow

all documents held by a law enforcement agency. According to DEA, any “records . . . created

and maintained by law enforcement employees in the course of their official duties” would qualify

for Exemption 7(E) protection. DEA MSJ at 3. Additionally, DEA claims that because “[t]he

effectiveness of DEA’s mission is dependent to a large extent on the use of sensitive collection

techniques and methods that are not known to the general public” (DEA MSJ at 4), it should be

able to withhold even documents not clearly related to those techniques and methods. Not only is

such an interpretation illogical, but also, if such were the case, no law enforcement agency would

ever produce documents requested under FOIA in reliance on Exemption 7(E). That is not the

law. See Part XX, supra.

IV.     CONCLUSION

        For the foregoing reasons, Professor Hansten respectfully requests that the Court deny

DEA’s Motion for Summary Judgment.



Documents Don’t Back Up Claimed Threat To Execution Drug Supplier (Aug. 29, 2016),
https://www.buzzfeednews.com/article/chrismcdaniel/fbi-documents-dont-back-up-claimed-threat-to-execution-
drug. In any event, DEA’s claim has no bearing on either the applicability of FOIA, see Part XX, supra, or
Exemption 7(E).


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Dated: November 29, 2021                  Respectfully submitted,

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